                           EXHIBIT 3




Case 3:17-cv-00902 Document 399-3 Filed 06/02/23 Page 1 of 11 PageID #: 12927
               UNITED STATES of AMERICA
                                     vs
METHODIST LE BONHEUR HEALTHCARE, et al.




                         CHRIS MCLEAN
                           August 11, 2022




Case 3:17-cv-00902 Document 399-3 Filed 06/02/23 Page 2 of 11 PageID #: 12928
                                                 Page 29                                                     Page 31
·1· ·A.· · ·All of the billing employees in the cancer      ·1· ·the exact formula that we would use.
·2· ·service line were leased to Methodist.                 ·2· · · · · I sent that proposed formula to them.· They
·3· ·Q.· · ·Was the person responsible or people            ·3· ·agreed to it.· And then we followed that formula on
·4· ·responsible for West payroll leased to Methodist?      ·4· ·a consistent basis throughout the term of the
·5· ·A.· · ·The -- yes.                                     ·5· ·agreement.
·6· ·Q.· · ·Did West -- do you know who that person was?    ·6· ·Q.· · ·Did you look at the document that you're
·7· ·A.· · ·No.                                             ·7· ·referring to in preparation for this deposition?
·8· ·Q.· · ·Did Methodist pay West -- strike that.          ·8· ·A.· · ·I refreshed my memory on some of the details
·9· · · · · Did West reimburse Methodist for any amounts    ·9· ·that supported that calculation in advance of this
10· ·for the payroll person or persons to handle the        10· ·deposition.
11· ·West payroll as opposed to a Methodist item?           11· ·Q.· · ·What was the formula that you used?
12· ·A.· · ·Yes, through our reconciliation process, we     12· ·A.· · ·So for billing, we pulled all the billing
13· ·did pick up the personnel cost center that would       13· ·cost centers together and we did it on a basis of
14· ·have had those people in it and allocated a            14· ·cash collections.· So cash collections for Methodist
15· ·percentage of the costs of everybody in that cost      15· ·activity, cash collections for non-Methodist
16· ·center to charge West.                                 16· ·activity.· Initially it was just Corinth, but it
17· ·Q.· · ·What was this reconciliation process?           17· ·expanded over time as they added other sites.
18· ·A.· · ·The reconciliation process was a process to     18· · · · · And we took a percentage.· So we thought
19· ·receive payment from West Clinic, P.C. for any         19· ·that was the most logical way, so if 12 percent of
20· ·activities that were done with our people, because     20· ·the -- and also we were collecting the rolled AR,
21· ·keep in mind all the leased employees were             21· ·so we had to charge them for that.
22· ·effectively ours, or facilities that related to        22· · · · · So if the percentage of collections for
23· ·those people with -- to capture cost for any time      23· ·non-Methodist business was 12 percent, we basically
24· ·and effort that they were spending on non-Methodist    24· ·took 12 percent of the billing operation, and that
25· ·activities, cancer center service line activities.     25· ·was part of it.


                                                 Page 30                                                     Page 32
·1· ·Q.· · ·How is that reconciliation done?                ·1· · · · · Then I went through and identified overhead
·2· ·A.· · ·So do you want me to start from how we -- how   ·2· ·areas where people like Erich were, Ron were,
·3· ·we developed it and then how it was done going --      ·3· ·personnel were, the controller was, and I just
·4· ·what do you mean by how was it done?                   ·4· ·didn't pull those individuals, I pulled everybody
·5· ·Q.· · ·You did the reconciliation.· What was done?     ·5· ·that were in those cost centers under the belief
·6· ·I have zero understanding of the --                    ·6· ·they may have used other people to help them.
·7· ·A.· · ·Okay.                                           ·7· · · · · And based on a study and a look at the
·8· ·Q.· · ·-- reconciliation process.                      ·8· ·detail cost, we came up with an estimated
·9· ·A.· · ·Okay.· So let's start at the start.· So right   ·9· ·percentage that we think covered that.
10· ·after we entered into this agreement, we knew that     10· · · · · Now, anybody could argue that some of the
11· ·we needed to bill them back for activities.· We        11· ·costs that were in there probably weren't related.
12· ·identified those activities and billing was the        12· ·For instance, advertising that was done was in
13· ·largest one, but then you had some overhead people     13· ·there, and I was still charging a percentage of
14· ·and overhead cost that we needed to bill back also.    14· ·that out.· But we knew that some may be too high
15· · · · · So I actually started the process.· I went      15· ·and some may be too low, but I felt, you know,
16· ·through the budgets we initially prepared for 2012,    16· ·based on these type of allocations I've done, this
17· ·identified specific cost centers where clearly --      17· ·cost center in total times the percentage of
18· ·and we had back and forth on, you know, who was        18· ·non-Methodist would yield a reasonable answer for
19· ·doing what.· So identify cost centers -- that          19· ·the overhead allocation.
20· ·included people -- that could or should be doing       20· · · · · Over the seven years, it was over
21· ·part of their time for non-Methodist activities.       21· ·$8 million, so it was over a million dollars a year
22· · · · · I pulled or developed a process, and I          22· ·on average that we charged them through this
23· ·outlined it in writing that I gave to West early       23· ·process.
24· ·on, is this is what I'm planning to do.· Then I        24· ·Q.· · ·And that was for personnel time and overhead?
25· ·proposed the exact amount, the exact process, and      25· ·A.· · ·Yes.



      Case 3:17-cv-00902 Document 399-3
                 Elite-Brentwood        Filed 06/02/23
                                  Reporting    ServicesPage 3 of 11 PageID #: 12929
                                                         * (615)595-0073                                     29..32
                           www.EliteReportingServices.com                                                               YVer1f
                                                 Page 33                                                     Page 35
·1· ·Q.· · ·What about office space?                        ·1· ·overhead costs that we used did not change.· The
·2· ·A.· · ·So for separate identified lease space, such    ·2· ·cost in those overhead areas obviously increased
·3· ·as we had the billing office and many of the finance   ·3· ·dramatically over time.
·4· ·overhead people in a specific lease space, I pulled    ·4· ·Q.· · ·Do you know what percentage of time
·5· ·the full lease and then used the percentage.           ·5· ·Mr. Mounce would work on West matters that were
·6· ·Q.· · ·What about Wolf River?                          ·6· ·unrelated to Methodist?
·7· ·A.· · ·Well, Wolf River wasn't a leased space, it      ·7· ·A.· · ·No.
·8· ·was an owned space by us, so --                        ·8· ·Q.· · ·Did you ever have any discussions with
·9· ·Q.· · ·Did West pay any money to Methodist to          ·9· ·Mr. Mounce about how much time he was spending on
10· ·operate any business out of Wolf River?                10· ·business for West as opposed to Methodist?
11· ·A.· · ·In the overhead allocation process, we didn't   11· ·A.· · ·No, but when I initially set up the formula,
12· ·have a specific line for Wolf River, although there    12· ·I had discussions of who potentially would be doing
13· ·were items like maintenance contracts and              13· ·other things, which I used to come up with the
14· ·maintenance expenses in the overhead cost center       14· ·percentage.
15· ·they got a piece of.                                   15· · · · · So in the initial process, I did have those
16· · · · · But as far as did we say an imputed lease       16· ·discussions.· On a year in and year out?· No.
17· ·for Wolf River is X, this amount of time for the       17· ·Q.· · ·Did your reconciliation process take into
18· ·people in Wolf River?· We did not.· Those were very    18· ·account work that West might be doing to build the
19· ·minor amounts, and given the overall process we        19· ·business of West that was unsuccessful?
20· ·came up with, we thought that it yielded a good        20· · · · · · · ·MR. ROARK:· Object to the form.
21· ·answer in total, knowing that you're never going to    21· · · · · · · ·THE WITNESS:· In my opinion and
22· ·be identifying specific costs.                         22· ·expertise, I believe it did.
23· · · · · So they may have been charged for some costs    23· ·BY MS. SWEET:
24· ·that they could claim was not theirs.· Some of         24· ·Q.· · ·What is your basis for that?
25· ·these that were difficult to do, we didn't do.· But    25· ·A.· · ·I -- one of the things I have done in


                                                 Page 34                                                     Page 36
·1· ·the overall process and the overall answer we think    ·1· ·healthcare is cost allocations for my entire 30-year
·2· ·is a reasonable way to compensate Methodist for        ·2· ·career and understand the way to do cost
·3· ·non-Methodist activities.                              ·3· ·allocations.
·4· ·Q.· · ·By "we" you mean you -- what do you mean by     ·4· · · · · And philosophically and my experience says
·5· ·"we"?                                                  ·5· ·don't try to get into the details because you'll
·6· ·A.· · ·Well, I developed it and West Clinic, P.C.      ·6· ·get overwhelmed.· Pull a big bucket of costs that
·7· ·agreed to it.                                          ·7· ·should cover everything and come up with a
·8· ·Q.· · ·Okay.· Did any outside party review the         ·8· ·percentage that should cover all of those factors
·9· ·reconciliation process and the methodology to          ·9· ·that are in there at a reasonable level.
10· ·confirm that it was a reasonable method?               10· · · · · So that was my logic for answering that way
11· ·A.· · ·By "outside party" who do you mean?             11· ·and doing it this way.
12· ·Q.· · ·A third party.· An auditor, for example.        12· ·Q.· · ·So if West was attempting to acquire an
13· ·A.· · ·No.                                             13· ·additional location that did not pan out, was that
14· ·Q.· · ·Did any internal auditor review your            14· ·captured at all in your reconciliation, the time
15· ·reconciliation process and formula?                    15· ·spent on doing that?
16· ·A.· · ·I had Darryl Arbor go in to do an internal      16· ·A.· · ·In my opinion, yes.
17· ·audit.· I may have shown that to him, but I'm not      17· ·Q.· · ·In your opinion?
18· ·sure.                                                  18· ·A.· · ·In my opinion, yes.
19· ·Q.· · ·Okay.· During the course of the seven years,    19· ·Q.· · ·Did Methodist pay West more under the
20· ·did you change the methodology for the                 20· ·professional services agreement than -- I'm sorry.
21· ·reconciliation process at all?                         21· ·Strike that.
22· ·A.· · ·It changed each year on the collection side     22· · · · · Prior to the transaction with West, did
23· ·based on the ratio of collections.· So that was an     23· ·Methodist pay West physicians for their
24· ·annual change.                                         24· ·professional services through a wRVU rate?
25· · · · · But the overall philosophy and areas of         25· ·A.· · ·Repeat that, please.



      Case 3:17-cv-00902 Document 399-3
                 Elite-Brentwood        Filed 06/02/23
                                  Reporting    ServicesPage 4 of 11 PageID #: 12930
                                                         * (615)595-0073                                     33..36
                           www.EliteReportingServices.com                                                               YVer1f
                                                 Page 41                                                     Page 43
·1· ·ability to pay their copays and deductibles.           ·1· ·A.· · ·We didn't run specific numbers.· We did know
·2· · · · · You could have commercial insurance that's      ·2· ·historically they were closer tied to Baptist in
·3· ·really bad commercial insurance and you've got a       ·3· ·their history.· And the cancer group that we were
·4· ·$10,000 deductible that you don't have the ability     ·4· ·working with, UTCI, was more closely related to us.
·5· ·to pay, so I wouldn't count all commercial patients    ·5· · · · · So we knew the general market layout.· We
·6· ·as patients with means.                                ·6· ·didn't know the specific -- or we didn't pull up
·7· · · · · And then obviously you've got the uninsured,    ·7· ·the specific volumes.
·8· ·which don't have means.· You have Medicaid, which      ·8· ·Q.· · ·Did the amount of West inpatient referrals to
·9· ·is even people poorer than the uninsured, you've       ·9· ·Methodist increase in 2012 as compared to the number
10· ·got to be -- to have really low income, you know.      10· ·of inpatient referrals in 2011?
11· · · · · And then you have Medicare patients, some of    11· ·A.· · ·So that is something we didn't routinely run.
12· ·who have secondary, who have the ability to pay        12· ·Looking back and preparing for this testimony, I did
13· ·their coinsurance and copays.                          13· ·see where there were some specific reports that were
14· · · · · And you have other low income Medicare that     14· ·run over time that tracked that.· And looking back
15· ·don't have the ability to -- where you can get the     15· ·on those reports, it did go up.
16· ·Medicare payment but you can't collect the copay       16· · · · · At the time, that wasn't something that we
17· ·and deductible.                                        17· ·were tracking, but on a -- but on a non-routine
18· · · · · So when you define "means," I kind of break     18· ·basis, those reports were pulled and I can see that
19· ·it into the pieces.· And it's not only do you have     19· ·the volume from West did change.
20· ·insurance, but do you have insurance and are you       20· · · · · At the same time, what's missing from there
21· ·able to pay the part that insurance doesn't pay?       21· ·is UTCI moved from us to Baptist, so I've never
22· · · · · So it's a complicated definition, but that's    22· ·calculated, but I would -- it could be that UTCI
23· ·how I looked at it and how I used the definition.      23· ·referrals went down.
24· ·Q.· · ·Okay.· And at the time that Methodist entered   24· · · · · It's always -- there's so many factors going
25· ·into the transaction with West, did Methodist expect   25· ·in, you know, volume numbers, but did the West


                                                 Page 42                                                     Page 44
·1· ·that the patients with means -- there would be more    ·1· ·numbers go up?· Based on the reports I've seen
·2· ·patients with means coming to Methodist for cancer     ·2· ·preparing for this, it did.
·3· ·care?                                                  ·3· ·Q.· · ·Okay.· And did the West numbers also go up
·4· · · · · · · ·MR. ROARK:· Object to the form.            ·4· ·from -- in 2013 over 2012?
·5· · · · · · · ·THE WITNESS:· So the answer is no,         ·5· ·A.· · ·There was a report that Ron ran that had each
·6· ·because we already had commercial contracts that       ·6· ·of the years -- I can't -- that I reviewed.· I think
·7· ·directed many of them.· So there was steerage that     ·7· ·it did, but I'm not certain.· I'd have to go back
·8· ·we were getting even without the West deal.            ·8· ·and look at that to be sure.
·9· · · · · · · ·For some of the Medicare or commercial     ·9· ·Q.· · ·And do you think from 2014, was there almost
10· ·plans that didn't have steerage, again, I go back to   10· ·a double increase from the numbers in 2011?
11· ·what we said, we were going to build a better cancer   11· ·A.· · ·I don't remember that.· I'd have to see
12· ·service line, and we expected it to attract more       12· ·specific numbers, but I don't remember that.
13· ·patients.· We expected to attract more patients with   13· ·Q.· · ·Okay.· Did the amount of West referrals to
14· ·means, and we expected -- and we were going to work    14· ·Baptist decrease in 2012 as compared to 2011?
15· ·hard to attract more patients without means.           15· ·A.· · ·For inpatients?
16· · · · · · · ·So we were looking to serve the entire     16· ·Q.· · ·Yes.
17· ·community, both means and without means.· And if we    17· ·A.· · ·From that report, yes.
18· ·did it right, we hoped that it would lead to more      18· ·Q.· · ·Okay.· At the time that Methodist entered
19· ·patients coming for a better service.                  19· ·into a contractual relationship with West in 2011,
20· ·BY MS. SWEET:                                          20· ·was Methodist aware that it could be a violation of
21· ·Q.· · ·At the time that Methodist entered into a       21· ·the Anti-Kickback Statute to pay physicians in
22· ·contractual relationship with West in 2011, was it     22· ·exchange for referrals?
23· ·aware that West physicians had referred more           23· · · · · · · ·MR. ROARK:· Object to the form.
24· ·patients to Baptist for inpatient services than to     24· · · · · · · ·THE WITNESS:· Can you repeat that?
25· ·West?                                                  25· ·///



      Case 3:17-cv-00902 Document 399-3
                 Elite-Brentwood        Filed 06/02/23
                                  Reporting    ServicesPage 5 of 11 PageID #: 12931
                                                         * (615)595-0073                                     41..44
                           www.EliteReportingServices.com                                                               YVer1f
                                                 Page 81                                                     Page 83
·1· · · · · · · ·THE WITNESS:· What do you mean by          ·1· ·most common use of it was we entered into a
·2· ·"principal place of business"?                         ·2· ·contractual agreement with the University of
·3· ·BY MS. SWEET:                                          ·3· ·Tennessee to provide additional payments to them for
·4· ·Q.· · ·For purposes of entering into contracts?        ·4· ·support of education, research, and clinical
·5· · · · · · · ·MR. ROARK:· Object to the form.            ·5· ·expertise growth for the cancer service line.
·6· ·BY MS. SWEET:                                          ·6· · · · · To me that's -- everyone used the term
·7· ·Q.· · ·Signature blocks.· Medicare.                    ·7· ·"lift," but to me it was -- it was a separate
·8· · · · · · · ·MR. ROARK:· Same objection.                ·8· ·contractual agreement with payments out of the
·9· · · · · · · ·THE WITNESS:· So let me answer it how I    ·9· ·funds that we provided for a specific purpose.
10· ·can know to answer it.                                 10· ·Q.· · ·And what are the cancer mission support
11· · · · · · · ·Were there some administrative types at    11· ·funds?
12· ·Wolf River, such as Erich, that had an office?· Yes.   12· ·A.· · ·Again, that's another term that was commonly
13· ·Were other administrative individuals at other         13· ·used for the same thing.· Everybody has their own
14· ·locations?· Yes.· So that's -- that's all I know how   14· ·terms.
15· ·to answer that.                                        15· ·Q.· · ·Okay.· Do you have an understanding that the
16· ·BY MS. SWEET:                                          16· ·cancer mission support funds came from revenues from
17· ·Q.· · ·Did West pay Methodist any amount of rent for   17· ·the service line?
18· ·space at Wolf River?                                   18· ·A.· · ·No.
19· ·A.· · ·I could answer, again, I'm going to go back     19· ·Q.· · ·Where did the cancer mission support funds
20· ·to how we did a reconciliation process, what was       20· ·come from?
21· ·included and why we thought it was reasonable.         21· ·A.· · ·That was an agreement directly between
22· · · · · So the answer would be the same answer I've     22· ·Methodist and UT to provide $5 million for specific
23· ·already given.                                         23· ·purposes.
24· ·Q.· · ·Okay.· There was no -- there was no lease       24· · · · · And those payments continued after our
25· ·between Methodist and West with respect to office      25· ·agreement with West ended.· So that was a


                                                 Page 82                                                     Page 84
·1· ·space; is that right?                                  ·1· ·responsibility of Methodist's to pay it from
·2· · · · · · · ·MR. ROARK:· Object to the form.            ·2· ·whatever funds they had to meet a contractual
·3· · · · · · · ·THE WITNESS:· What do you mean by          ·3· ·obligation that we have with UT.
·4· ·"lease"?                                               ·4· ·Q.· · ·And the $5 million, did those come -- did --
·5· ·BY MS. SWEET:                                          ·5· ·during the course of the relationship between
·6· ·Q.· · ·A lease.                                        ·6· ·Methodist and West, did that come from revenues from
·7· ·A.· · ·Do you mean a formal lease agreement that's     ·7· ·the adult oncology service line?
·8· ·signed by parties?· Is that what --                    ·8· ·A.· · ·It came from Methodist.
·9· ·Q.· · ·Yes.                                            ·9· ·Q.· · ·And where did the money come from from
10· ·A.· · ·I'm help -- I'm trying to understand.           10· ·Methodist for that cancer mission support funds?
11· ·Q.· · ·Okay.· I mean, I don't -- as a CFO and          11· ·A.· · ·It came from our overall financial position
12· ·someone with your background, I assume that you        12· ·and financial performance as a system.
13· ·understand what a lease is, right?                     13· ·Q.· · ·Are you going to say money is money?· That's
14· · · · · · · ·MR. ROARK:· Object to the form.            14· ·what Mr. --
15· ·BY MS. SWEET:                                          15· ·A.· · ·I am not going to say money is money.· That's
16· ·Q.· · ·Was there a lease between Methodist and West    16· ·a strange term to me also.
17· ·with respect to office space?                          17· · · · · We had numerous agreements with UT to pay
18· ·A.· · ·No.· There was not a lease, but there was a     18· ·for numerous things, and we paid them based on our
19· ·reconciliation agreement that should have picked up    19· ·contractual responsibilities.
20· ·cost that covered those type of activities in the      20· ·Q.· · ·Did you read the deposition transcript of
21· ·methodology that we used in the overall allocation     21· ·Mr. Lane's testimony?
22· ·that we came up with.                                  22· ·A.· · ·I did.
23· ·Q.· · ·What is the lift?                               23· ·Q.· · ·Okay.· And he said "money is money," right?
24· ·A.· · ·So that's a term that different people use at   24· ·A.· · ·I think you said it and he agreed and then
25· ·various times over the course of the agreement.· The   25· ·you all started using it, and it's just a bizarre



      Case 3:17-cv-00902 Document 399-3
                 Elite-Brentwood        Filed 06/02/23
                                  Reporting    ServicesPage 6 of 11 PageID #: 12932
                                                         * (615)595-0073                                     81..84
                           www.EliteReportingServices.com                                                               YVer1f
                                                Page 129                                                    Page 131
·1· ·that?"                                                 ·1· ·outpatient pharmacy.
·2· · · · · · · ·So, I mean, that's not surprising or       ·2· ·Q.· · ·Was the revenue for oral pharmacy program a
·3· ·unusual.· Obviously the finance people were more       ·3· ·component of the fair market valuation in the
·4· ·involved than the administrative people and the        ·4· ·management services agreement --
·5· ·administrative people were more involved than the      ·5· ·A.· · ·I'm not sure.
·6· ·doctors.                                               ·6· ·Q.· · ·-- in 2014?
·7· ·BY MS. SWEET:                                          ·7· ·A.· · ·I am not sure how that fair market value
·8· ·Q.· · ·How did the West Clinic benefit financially     ·8· ·appraisers took that for the management services
·9· ·from the revenue for the oral pharmacy?                ·9· ·agreement.· I mean, we'd have to trace it back
10· ·A.· · ·West Clinic --                                  10· ·through.
11· · · · · · · ·MR. ROARK:· Object to the form.            11· · · · · I don't remember, as I went back and read
12· · · · · · · ·THE WITNESS:· -- PC?                       12· ·it, whether that was in it or not, but, again, they
13· ·BY MS. SWEET:                                          13· ·have a fair market approach, a cost approach.· They
14· ·Q.· · ·Yes.                                            14· ·have numerous ways that they did it, so I'm not
15· ·A.· · ·There was no -- that was our outpatient         15· ·sure how it impacted their final fair market value
16· ·pharmacy.· All the financial performance of that       16· ·opinion.
17· ·came back to us.                                       17· ·Q.· · ·Was the total revenue for the adult oncology
18· · · · · Reporting back to the West Clinic, P.C. and     18· ·service line a component in the fair market
19· ·the physicians would -- I would hope would go back     19· ·valuation?
20· ·and say, hey, these drugs are working.                 20· ·A.· · ·We produced various reports.· How the --
21· · · · · And certain docs many times were using the      21· ·those reports were used by the appraisers, I am not
22· ·drugs outpatient, others weren't.· Educating the       22· ·sure.
23· ·entire group, changing practice plans to say           23· · · · · We were asked, clearly by this, to produce
24· ·instead of giving, you know, outpatient chemo          24· ·that information, which we did.· And how the
25· ·infusion, which is more invasive, let's use this       25· ·appraiser used it, I am not sure, in reaching their


                                                Page 130                                                    Page 132
·1· ·drug and do it on an outpatient basis in these         ·1· ·conclusion.
·2· ·doses from these manufacturers, that could have        ·2· ·Q.· · ·You've seen the fair market valuations,
·3· ·been the key feedback that we wanted to continue to    ·3· ·correct?
·4· ·occur and we saw occurring.                            ·4· ·A.· · ·I've seen the various fair market valuations.
·5· ·Q.· · ·Did the cost savings that Methodist realized    ·5· ·Q.· · ·Do you understand that all of the valuations
·6· ·from the oral pharmacy program impact the West         ·6· ·reference an amount of revenue for the service line
·7· ·Clinic's financials?                                   ·7· ·that's being managed?
·8· ·A.· · ·What do you mean by West Clinic's financials?   ·8· · · · · · · ·MR. ROARK:· Object to the form.
·9· ·Are you asking whether we made a payment based on      ·9· · · · · · · ·THE WITNESS:· I recognize that a market
10· ·the money that we made on the outpatient pharmacy?     10· ·value approach that uses revenue to help determine
11· ·The answer is no.                                      11· ·one of their methodologies is something they did.
12· ·Q.· · ·Was there -- did Methodist make any payment     12· ·And so, yes, in each of the -- each of those, that
13· ·indirectly based on the revenue from the oral          13· ·was an approach used in determining the valuations.
14· ·pharmacy program?                                      14· ·Each one did it differently --
15· ·A.· · ·So Methodist paid the West Clinic, P.C. under   15· ·BY MS. SWEET:
16· ·the management services agreement, the professional    16· ·Q.· · ·Okay.
17· ·services agreement, the asset purchase agreement.      17· ·A.· · ·-- in how it was used.
18· ·So those were the direct payments that we were         18· · · · · But, yes, I do know total revenues.· What
19· ·making.                                                19· ·they counted as total revenues based on what we
20· · · · · We did reimburse specific expenses, like we     20· ·gave them, sitting here I can't remember.
21· ·just went over -- that was part of the PSA -- that     21· ·Q.· · ·Okay.· We'll go over some documents.
22· ·they may have paid and then were reimbursing for       22· ·A.· · ·Sure.
23· ·our expenses that we could have also paid directly.    23· · · · · But, again, if you're asking me if I think
24· ·It was just the way it went through.                   24· ·that's appropriate, keep in mind many times what we
25· · · · · So there was no payments made related to the    25· ·did was stop doing outpatient chemo and start doing



      Case 3:17-cv-00902 Document 399-3
                 Elite-Brentwood        Filed 06/02/23
                                  Reporting    ServicesPage 7 of 11 PageID #: 12933 129..132
                                                         * (615)595-0073
                           www.EliteReportingServices.com                                                               YVer1f
                                                Page 185                                                    Page 187
·1· ·A.· · ·But other --                                    ·1· ·Q.· · ·I can ask you the --
·2· · · · · · · ·MR. ROARK:· And -- go ahead.               ·2· ·A.· · ·What do you mean by do I have a number?
·3· · · · · · · ·THE WITNESS:· Sorry.                       ·3· ·Q.· · ·Sure.· I can ask you for the net profits.
·4· ·BY MS. SWEET:                                          ·4· ·A.· · ·Net profits on inpatient by service line or
·5· ·Q.· · ·Go ahead.                                       ·5· ·for groups is something we did not routinely do.
·6· ·A.· · ·Other than that, I think you have stated        ·6· ·That is for various reasons.
·7· ·correctly.                                             ·7· · · · · So let me give you a little history and then
·8· · · · · · · ·MR. ROARK:· Subject to the objections --   ·8· ·come back to why.
·9· · · · · · · ·MS. SWEET:· Objections?· Okay.             ·9· ·Q.· · ·Okay.
10· · · · · · · ·MR. ROARK:· -- and clarifications that     10· ·A.· · ·We could act -- we had decided
11· ·we've raised.                                          11· ·philosophically we were going to report our
12· · · · · · · ·MS. SWEET:· Okay.                          12· ·profitability by physical location.· So even though
13· ·BY MS. SWEET:                                          13· ·Methodist Hospital in Memphis was made up of a bunch
14· ·Q.· · ·At your interview I believe you mentioned       14· ·of different campuses, we had a different campus and
15· ·that in one year Methodist realized a cost savings     15· ·physical location for University, South, North,
16· ·of $50 million through the 340B discount drug          16· ·Germantown, et cetera.
17· ·program as a result of the transaction with West?      17· · · · · We had separate physical locations for the
18· ·A.· · ·Yes.                                            18· ·outpatient cancer departments that we made
19· ·Q.· · ·Do you recall that?                             19· ·hospital-based, so it was very easy to report
20· · · · · Do you know the total amount of cost savings    20· ·profitability by physical location.
21· ·under the 340B drug -- discount drug program           21· · · · · So I had request -- cardiac wanted to know
22· ·throughout the relationship between Methodist and      22· ·what that service line made.· OB wanted to know
23· ·West?                                                  23· ·what that service line made.· Erich at times wanted
24· ·A.· · ·I do not, although -- I do not, because we      24· ·to know what the cancer service line made.· I could
25· ·didn't measure it every year separately.· That's a     25· ·go down the list.


                                                Page 186                                                    Page 188
·1· ·difficult measurement to do.                           ·1· · · · · And I thought that that was not how we
·2· ·Q.· · ·Okay.· Do you have a ballpark number?           ·2· ·managed our organization.· It got into some theory
·3· ·A.· · ·No.· It grew from, you know, the 14,            ·3· ·because you had to allocate fixed and semi-variable
·4· ·15 million at first, and I think the 51 million was    ·4· ·cost, which is very difficult to do and various
·5· ·2017 I saw as I went back through.                     ·5· ·methods of doing it.
·6· · · · · So, you know -- and it -- so you would have     ·6· · · · · So I philosophically said that's something
·7· ·to extrapolate that and add '18 into it, so I am       ·7· ·we don't need to be wasting our time on.· If it's
·8· ·not sure.· I mean, it's not a number I have added      ·8· ·something we need in order to make a management
·9· ·up.                                                    ·9· ·decision or to -- of any type, be it capital or
10· ·Q.· · ·Okay.· It's in the -- would you say it's in     10· ·ongoing, we will do that, but to do it on an
11· ·the hundreds of millions?                              11· ·ongoing basis, we're not going to do it.
12· ·A.· · ·It would definitely exceed 100 million.· I'm    12· · · · · So I historically did not ask or did not
13· ·not sure it would exceed 200 million.                  13· ·receive inpatient profitability for West patients
14· ·Q.· · ·Okay.· What about the increase in revenues as   14· ·or any other groups, Sutherland, any other group.
15· ·a result of patient referrals from West?· Do you       15· ·If there was a need for it and some special runs
16· ·have a number for that amount --                       16· ·were done, I would support doing that.
17· ·A.· · ·Okay.· What do you mean --                      17· · · · · So, no, I do not have those numbers because
18· · · · · · · ·MR. ROARK:· Object to the form.            18· ·that was something that philosophically didn't make
19· ·BY MS. SWEET:                                          19· ·sense to me, so I didn't request them.
20· ·Q.· · ·-- that you can point to?                       20· ·Q.· · ·Okay.· For Topic 5 here, any agreements,
21· ·A.· · ·-- by "patient referrals"?                      21· ·arrangements or understandings with West that would
22· ·Q.· · ·So the inpatient referrals.                     22· ·allow West to continue to operate out of locations
23· ·A.· · ·The inpatient referrals.· Do I have a number    23· ·that were the subject of -- I'll use your -- I'll
24· ·on what we collected?· Do I have a number on the       24· ·use the objection and clarify it -- that were the
25· ·margin that we made?                                   25· ·subject of the asset purchase agreement.



      Case 3:17-cv-00902 Document 399-3
                 Elite-Brentwood        Filed 06/02/23
                                  Reporting    ServicesPage 8 of 11 PageID #: 12934 185..188
                                                         * (615)595-0073
                           www.EliteReportingServices.com                                                               YVer1f
                                                Page 241                                                    Page 243
·1· ·all nurse practitioners for The West Clinic at the     ·1· ·pharmacy technician, director of pharmacy operation,
·2· ·locations outside of Corinth?                          ·2· ·and the pharmacist.
·3· ·A.· · ·I do not know for sure.· I do know we made a    ·3· · · · · Were all of those individuals leased
·4· ·special look on the -- as we went into it that any     ·4· ·employees to --
·5· ·people working directly for Corinth did not show up    ·5· ·A.· · ·I don't believe so.
·6· ·in the leased employees.                               ·6· ·Q.· · ·Okay.· You'd have to look at the payroll to
·7· ·Q.· · ·I presume West Clinic hired additional nurse    ·7· ·know?
·8· ·practitioners over the course of the relationship      ·8· ·A.· · ·I'd have to look at the payroll, but I know
·9· ·with Methodist from 2012 through 2018?                 ·9· ·we made the decision who's leased and not leased --
10· ·A.· · ·Were there more nurse practitioners in 2018     10· ·the guiding principle was if you touched a patient,
11· ·than there were in 2011?· I don't know for sure.       11· ·you were on our payroll.· If you did not touch a
12· ·Q.· · ·You don't?· Do you know whether there were      12· ·patient, you were on the leased employees.
13· ·any nurse practitioners at any of the cancer center    13· · · · · So those examples you just gave, I would
14· ·sites that were not leased employees to Methodist?     14· ·think, would show on our payroll, but I'm not sure.
15· ·A.· · ·Repeat that one.                                15· ·Q.· · ·Okay.· I may or may not have copies of
16· ·Q.· · ·Do you know whether any of the nurse            16· ·payroll with me, but it's quite long, so...
17· ·practitioners at the cancer center sites --            17· ·A.· · ·It is.· It is.
18· ·A.· · ·At our sites?                                   18· ·Q.· · ·Do you want to turn to Exhibit 19?· It's
19· ·Q.· · ·Yes.· Were not -- were not a leased employee    19· ·probably in the other binder, but maybe not.
20· ·to Methodist?                                          20· ·A.· · ·No, 19's in here.
21· ·A.· · ·Were --                                         21· ·Q.· · ·Okay.· It's just me that has them in the
22· ·Q.· · ·Did they fall outside of the leased employee    22· ·wrong binders.
23· ·arrangement?· Were they an employee of West?           23· ·A.· · ·Is 19 HealthCare Appraisers' --
24· ·A.· · ·So at each of the cancer sites, we had          24· ·Q.· · ·Yes.
25· ·Methodist employees and we had leased employees.       25· ·A.· · ·-- 2012 report?


                                                Page 242                                                    Page 244
·1· ·Q.· · ·Right.                                          ·1· ·Q.· · ·It's the initial fair market valuation for
·2· ·A.· · ·So did people at those sites not be part of     ·2· ·the management services agreement.
·3· ·the leased employees?· Absolutely, yes.· Would they    ·3· ·A.· · ·And it's obviously got an exhibit from Erich
·4· ·have been on the Methodist payroll system?· Yes.       ·4· ·Mounce and an MLH Bates number on it.
·5· ·Q.· · ·Okay.· You're not aware of any nurse            ·5· ·Q.· · ·Yes.
·6· ·practitioner that Methodist did not reimburse -- it    ·6· ·A.· · ·Okay.· So it's Exhibit 19 from -- first page
·7· ·gets complicated because of all the different          ·7· ·from Erich Mounce in MLH_027862.· So I assume I'm on
·8· ·arrangements.                                          ·8· ·the right one.
·9· · · · · But all I'm really trying to understand is,     ·9· ·Q.· · ·You are.· And I'm trying to point you to the
10· ·is there anybody that was outside of the agreement     10· ·right page that tells about the administrator being
11· ·that was a nurse practitioner that West had            11· ·paid from the base management fee.
12· ·responsibility for paying that Methodist didn't        12· · · · · Page 13, Bates No. 027875, footnote 20.
13· ·reimburse or wasn't under the LEA?                     13· ·A.· · ·I see the footnote.
14· ·A.· · ·Again, that's --                                14· ·Q.· · ·Okay.· Did you -- did Methodist ever tell HAI
15· ·Q.· · ·You don't know?                                 15· ·that Mr. Mounce was a leased employee and being paid
16· ·A.· · ·I don't know.                                   16· ·directly by Methodist or indirectly by Methodist?
17· ·Q.· · ·Okay.· Is there anybody who would know the      17· ·A.· · ·So my understanding is we gave HIA -- HAI
18· ·answer to that question?                               18· ·copies of all the agreements, which would have
19· ·A.· · ·The answer is I don't know.· Obviously you      19· ·included the leased employee agreement, which would
20· ·can look at the leased employees and it changed        20· ·have identified Erich Mounce as a leased employee,
21· ·payroll by payroll and see what's on there.· Who was   21· ·is my understanding.
22· ·not on there?                                          22· ·Q.· · ·So your understanding is HAI should look
23· ·Q.· · ·Yeah.                                           23· ·through the agreements and figure it out?
24· ·A.· · ·I don't know who can answer that.               24· · · · · · · ·MR. ROARK:· Object to the form.
25· ·Q.· · ·And here also on Exhibit B it lists the         25· · · · · · · ·THE WITNESS:· My understanding is



      Case 3:17-cv-00902 Document 399-3
                 Elite-Brentwood        Filed 06/02/23
                                  Reporting    ServicesPage 9 of 11 PageID #: 12935 241..244
                                                         * (615)595-0073
                           www.EliteReportingServices.com                                                               YVer1f
                                                Page 245                                                    Page 247
·1· ·information was provided to HAI that clearly           ·1· ·BY MS. SWEET:
·2· ·outlined that in the agreements.                       ·2· ·Q.· · ·You don't know?· You relied on what your
·3· ·BY MS. SWEET:                                          ·3· ·counsel told you that HAI indicated the fair market
·4· ·Q.· · ·And your understanding was that you could       ·4· ·value would be?
·5· ·rely on a fair market value opinion that assumed       ·5· · · · · · · ·MR. ROARK:· Objection.
·6· ·information that was contrary to what Methodist was    ·6· ·BY MS. SWEET:
·7· ·actually doing?                                        ·7· ·Q.· · ·Is that what your --
·8· · · · · · · ·MR. ROARK:· Object to the form.            ·8· · · · · · · ·MR. ROARK:· Privilege.
·9· · · · · · · ·THE WITNESS:· I don't know what you're     ·9· ·BY MS. SWEET:
10· ·asking.                                                10· ·Q.· · ·-- your testimony is?
11· ·BY MS. SWEET:                                          11· · · · · · · ·MR. ROARK:· I -- Chris, you can't talk
12· ·Q.· · ·Sure you do.                                    12· ·about what discussions that you had with -- if you
13· ·A.· · ·No, I don't.                                    13· ·had discussions with counsel about the HAI opinion,
14· ·Q.· · ·I'm asking --                                   14· ·I'm instructing you not to answer that.
15· · · · · · · ·MR. ROARK:· Kara, that's argumentative.    15· · · · · · · ·THE WITNESS:· I can't answer it based on
16· ·BY MS. SWEET:                                          16· ·instructions from my attorney.
17· ·Q.· · ·I'm asking whether it was fair for Methodist    17· ·BY MS. SWEET:
18· ·to rely on a fair market value opinion that had an     18· ·Q.· · ·After you received the fair market value
19· ·assumption Methodist knew to be incorrect.             19· ·opinion in February and noticed the footnote, did
20· · · · · · · ·MR. ROARK:· Object to the form.            20· ·you ever change the amount of money that you had
21· · · · · · · ·THE WITNESS:· So we relied on the          21· ·agreed to pay West under the management services
22· ·opinion that we got from HealthCare Appraisers in      22· ·agreement?
23· ·total, including the entire report.                    23· ·A.· · ·No.
24· · · · · · · ·At the time we started this, they hadn't   24· · · · · · · ·MR. ROARK:· Objection, lacks foundation.
25· ·even issued their report until February.· So as we     25· ·///


                                                Page 246                                                    Page 248
·1· ·finalized the agreements, this final written report    ·1· ·BY MS. SWEET:
·2· ·was not received until after -- it was received in     ·2· ·Q.· · ·Did you ever advise HAI that the -- that
·3· ·February of 2012, and the agreement went in place      ·3· ·Mr. Mounce was not being paid out of the base
·4· ·late December 2011.                                    ·4· ·management fee?
·5· ·BY MS. SWEET:                                          ·5· ·A.· · ·Did I personally?
·6· ·Q.· · ·You had a draft of the fair market value        ·6· ·Q.· · ·Yes.
·7· ·opinion prior to entering into the management          ·7· ·A.· · ·No.
·8· ·services agreement, correct?                           ·8· ·Q.· · ·Did anyone at Methodist?
·9· ·A.· · ·No.                                             ·9· ·A.· · ·I don't know.
10· ·Q.· · ·You did not have a -- Methodist did not         10· · · · · · · ·(Reporter asked for clarification.)
11· ·receive a draft of the fair market value opinion       11· ·BY MS. SWEET:
12· ·prior to entering into the management services         12· ·Q.· · ·What is your -- what is the basis for your
13· ·agreement?                                             13· ·understanding that HAI received a copy of all of the
14· ·A.· · ·No, correct.                                    14· ·transaction documents?
15· ·Q.· · ·How did Methodist determine what number to      15· ·A.· · ·I'd have to go back and find that.· I know --
16· ·put in the management services agreement?              16· ·my understanding is with all the documents -- my
17· ·A.· · ·We received information from HAI,               17· ·understanding --
18· ·specifically that are -- from them to our attorneys    18· ·Q.· · ·Uh-huh.
19· ·that were put in the agreement.                        19· ·A.· · ·-- is all the documents were provided to both
20· ·Q.· · ·Okay.· So Methodist counsel had a draft of      20· ·ECG and HAI as part of both of their fair market
21· ·the fair market value opinion prior to Methodist       21· ·value opinions.· That is my understanding.
22· ·entering into the management services agreement?       22· · · · · The basis for that is hard for me to
23· ·A.· · ·I don't know.                                   23· ·remember at this time.
24· · · · · · · ·MR. ROARK:· Object to the form.            24· ·Q.· · ·Can you turn to footnote 24 on page 16?· Can
25· ·///                                                    25· ·you read what that says out loud?



     Case 3:17-cv-00902 Document 399-3
                Elite-Brentwood        Filed 06/02/23
                                  Reporting   ServicesPage 10 of 11 PageID #: 12936245..248
                                                        * (615)595-0073
                           www.EliteReportingServices.com                                                               YVer1f
                                                Page 337                                                                   Page 339
·1· ·dollar, but approximately how much lower were the      ·1· · · · · · · ·MR. VROON:· -- or oncologists?
·2· ·professional collections in Exhibit 71 than            ·2· · · · · · · ·THE WITNESS:· I compared -- there's two
·3· ·Exhibit 70?                                            ·3· ·categories, 7 and 9.· I compared 7 --
·4· ·A.· · ·Okay.· To do that I would need to do math,      ·4· · · · · · · ·MR. ROARK:· Hold on.· Mr. Vroon can't
·5· ·which I'm willing to do if that's what you're          ·5· ·ask you questions today.
·6· ·asking.                                                ·6· · · · · · · ·MR. VROON:· I'm just trying to clarify,
·7· ·Q.· · ·Yeah, that's what I'm asking.                   ·7· ·because you didn't say whether it was calculating
·8· ·A.· · ·Okay.· Can I have a piece of paper?             ·8· ·No. 7 or No. 9, Brian.· I wanted to know.
·9· · · · · · · ·MS. SWEET:· Do you want -- I was going     ·9· · · · · · · ·MR. ROARK:· Kara clarified.· And I'm
10· ·to say do you want -- do you have a calculator?        10· ·happy to put it on the record.
11· · · · · · · ·THE WITNESS:· If I'm ballparking, I'm      11· ·BY MR. ROARK:
12· ·going to do it --                                      12· ·Q.· · ·Mr. McLean, when you -- the numbers that
13· · · · · · · ·MS. SWEET:· Okay.                          13· ·you're comparing, does that include the professional
14· · · · · · · ·THE WITNESS:· -- in my head.               14· ·collections from the answer to Interrogatory No. 7
15· · · · · · · ·If we need to get a specific               15· ·and Interrogatory No. 9?
16· ·calculation, I can do that too, if need be.            16· ·A.· · ·Yes.
17· · · · · · · ·So just so you know, what I'm doing is     17· · · · · · · ·MR. ROARK:· All right.· That's all.
18· ·I'm going to compare answer 7 between the two for      18· · · · · · · ·THE VIDEOGRAPHER:· We are going off the
19· ·those two categories and come up with a reasonable     19· ·record at 6:00 p.m.
20· ·estimate of the differences.                           20· · · · · · · · FURTHER DEPONENT SAITH NOT
21· · · · · · · ·MS. SWEET:· You also have to do it for 9   21· · · · · · ·(Proceedings concluded at 6 p.m.)
22· ·as well.                                               22
23· · · · · · · ·MR. ROARK:· Right.                         23
24· ·BY MR. ROARK:                                          24
25· ·Q.· · ·It's 7 and 9.                                   25


                                                Page 338                                                                   Page 340
·1· ·A.· · ·7 and 9, correct.· Correct.· So let me figure   ·1·   · · · · · · · · REPORTER'S CERTIFICATE
                                                            ·2
·2· ·out a good way to do the math.
                                                            ·3·   ·STATE OF TENNESSEE
·3· · · · · · · ·(Pause in proceedings.)                    ·4·   ·COUNTY OF Davidson
·4· · · · · · · ·THE WITNESS:· I'll mess up you all's       ·5
·5· ·books.                                                 ·6·   · · · · · ·I, Terri Beckham, RMR, CRR, and licensed
                                                            ·7·   ·Court Reporter, with offices in Nashville,
·6· · · · · · · ·MS. SWEET:· He's writing on that?          ·8·   ·Tennessee, hereby certify that I reported the
·7· ·That's okay.                                           ·9·   ·foregoing deposition of CHRIS MCLEAN by machine
·8· · · · · · · ·MR. ROARK:· No, he just took out a page    10·   ·shorthand to the best of my skills and abilities,
                                                            11·   ·and thereafter the same was reduced to typewritten
·9· ·from the exhibits so he can compare.
                                                            12·   ·form by me.· I am not related to any of the parties
10· · · · · · · ·THE WITNESS:· Okay.· So I did make the     13·   ·named herein, nor their counsel, and have no
11· ·comparisons, each of those various schedules between   14·   ·interest, financial or otherwise, in the outcome of
12· ·the two.· And I come up with around $19.7 million,     15·   ·the proceedings.
                                                            16·   · · · · · ·I further certify that in order for this
13· ·rounded, difference between the first set of           · ·   ·document to be considered a true and correct copy,
14· ·interrogatories and the second set of                  17·   ·it must bear my original signature, and that any
15· ·interrogatories.· So that's the math I calculate.      · ·   ·unauthorized reproduction in whole or in part
                                                            18·   ·and/or transfer of this document is not authorized,
16· ·BY MR. ROARK:
                                                            · ·   ·will not be considered authentic, and will be in
17· ·Q.· · ·So the total estimated professional             19·   ·violation of Tennessee Code Annotated 39-14-104,
18· ·collections in Exhibit 71 is about $19.7 million       · ·   ·Theft of Services.
19· ·lower than Exhibit 70?                                 20
                                                            21
20· ·A.· · ·Yes, that's what I calculated.
                                                            · ·   ·   ·   ·   ·   _________________________________
21· · · · · · · ·MR. ROARK:· That's all that I have.        22·   ·   ·   ·   ·   Terri Beckham, RMR, CRR, LCR
22· · · · · · · ·MS. SWEET:· Okay.                          · ·   ·   ·   ·   ·   Elite-Brentwood Reporting Services
23· · · · · · · ·MR. VROON:· Are you talking about all      23·   ·   ·   ·   ·   Notary Public State of Tennessee
                                                            24·   ·   ·   ·   ·   My Notary Public Commission Expires 3/6/2026
24· ·physicians --                                          · ·   ·   ·   ·   ·   LCR 355 - Expires: 6/30/2024
25· · · · · · · ·MS. SWEET:· No, it's --                    25




     Case 3:17-cv-00902 Document 399-3
                Elite-Brentwood        Filed 06/02/23
                                  Reporting   ServicesPage 11 of 11 PageID #: 12937337..340
                                                        * (615)595-0073
                           www.EliteReportingServices.com
